IN THE UNITED STATES DISTRICT COUR

EASTERN DISTRICT OF LOUISIANA

JOHNNY DUNCAN CIVIL ACTION NO.

VERSUS SECTION: “B”; MAGISTRATE “1”

STATE OF LOUISIANA ET AL JURY DEMANDED

Plaintiff's Opposition to Defendant Tangipahoa Parish Motion to Dismiss

Comes now into Court dark-skin African American male to opposed Defendant

Tangipahoa Parish Motion to Dismiss on the following basis:

Plaintiff Johnny Duncan adopts by reference all applicable defenses, laches and arguments

offered in his previous opposition to defendant’s motion to dismiss because the pertinent fact that

has not changed that defendants denied plaintiff the right to vote on October 24, 2015;

Plaintiff complied with the Court’s Order in submitted his Amended Complaint,

TENDERED FOR FILING

MAR 2 2018

Eastern

__. Fee
me _PLOCBBE
><. Dktd
_.. CtRmDep.
mn LOC. No.

Case 2:15-cv-05486-ILRL-SS Document 60 Filed 03/02/16 Page 2 of 6

Defendant Tangipahoa Parish’s Motion to Dismiss consists of the arguments of defendant

and not plaintiff, is without merit and must be denied, as a matter of law;

Defendant Tangipahoa Parish has construed some argument that it concocted about forms
of identification to be the argument of plaintiff, which it plainly is not. Plaintiff argument is that

he was denied his “clearly established” and “well-settled” right to vote on October 24, 2015;

The relevant consideration is that plaintiff was denied the right to vote by voting
commissioner Patricia Hughes-Sims who was selected by defendant’s employee Tangipahoa
Parish Registrar of voter John Russell’s appointee to the Tangipahoa Parish Board of Election

Supervisors;

As agent for Defendant Tangipahoa Parish, Defendant Tangipahoa Parish Registrar of
Voter Office provided training for Voting Commissioner Patricia Hughes-Sims which proved

inadequate to prevent her from denying plaintiff the right to vote on October 24, 2015;

Defendant Secretary of State Office, through the offices of Defendant Registrar of Voter

Office and Clerk of Court, provided training for the voting commissioners, training which

Case 2:15-cv-05486-ILRL-SS Document 60 Filed 03/02/16 Page 3 of 6

necessitated the interaction of all parties. The degree of that interaction will be addressed during

discovery;

Defendant Tangipahoa Parish soul justification of dismissal hinges on the claim of picture
identification, which is not plaintiffs claim, thereby justify the Court right to dismiss defendant’s

motion, as a matter of law;

Wherefore, for all the foregoing reasons, Plaintiff prays that the Court reject Defendant

Tangipahoa Parish Motion to Dismiss, as a matter of law.

Done this the 29" Day of February 2016 at Amite, Louisiana.

Li fo

pi if In Proper Person
309 South Third Street
Post Office Box 723
Amite, Louisiana 70422

Case 2:15-cv-05486-ILRL-SS Document 60 Filed 03/02/16 Page 4 of 6

IN THE UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

JOHNNY DUNCAN CIVIL ACTION NO. 15-5486
VERSUS SECTION: “B”; MAGISTRATE “1”
STATE OF LOUISIANA ET AL JURY DEMANDED

Memorandum in Support of Plaintiff's Opposition to Defendant Tangipahoa Parish Motion to
Dismiss

May it please the Court:

A cursory examination of Defendant Tangipahoa Parish Motion in Support show that its
Motion to Dismiss hinges on two facts, both of which are meritless.

Defendant argue that plaintiff's Amended Complaint was not time. Plaintiff submitted the
Amended Complaint within the time frame established by the Court, thereby necessitating denial
of the Motion to Dismiss based on any such claim, as a matter of law.

Defendant Tangipahoa Parish’s second errant fact concerns itself with defendant’s role in
“rejecting his identification”. The Amended Complaint does not deal with picture identification
because plaintiff knows only that he was denied the right to vote, which was clearly established
and well-settled on October 24, 2015. Voting Commissioner Patricia Hughes-Sims and the other

defendant must provide their reason for denying plaintiff the right to vote. Defendant Tangipahoa

TENDERED FOR FILING

V2

U.S. D

Eastern

Case 2:15-cv-05486-ILRL-SS Document 60 Filed 03/02/16 Page 5 of 6

Parish flawed premises is prima facie proof that defendant’s motion to dismiss is without a legal
basis, and must be dismissed as a matter of law.

RESPECTFULLY,

soipay Danese In Proper Person
309 South Third Street
Post Office Box 723
Amite, Louisiana 70422

Car ax cafe Sere Fs
This is to certify that on this the 29" Day of February 2016, a true and correct copy of the
foregoing PLAINTIFF’S OPPOSITION TO DEFENDANT TANGIPAHOA PARISH’S

MOTION TO DISMISS and MEMORANDUM IN SUPPORT were placed in the United States

Mail and forwarded to Defendant through counsel at the following address:

Glen R. Galbraith

SEALE & ROSS, PLC
200 North Cate Street
Hammond, Louisiana 70401

PS

Te

33¢1

?O1s Ob4O OO02 5451

Case 2:15-cv-05486-ILRL-SS Document 60 Filed 03/02/16

H127624-5

R2305!

Page 6 of 6

